Case 2:10-md-02179-CJB-DPC Document 5637-3 Filed 02/09/12 Page 1 of 6

AFFIDAVIT

STATE OF LOUISIANA

PARISH OF LAFOURCHE

BEFORE ME, the undersigned authority, personally appeared:
HILLARD DOUCET

a resident of Lafourche Parish, Louisiana, who was sworn and who declared:

Affiant is the captain and owner of the motor vessel, Hilary Marie, in the attached
photograph (State Registration Number LA 4705 FF). Affiant entered a charter agreement
through Danos & Curole Staffing, L.L.C. for marine work in the inland bays and bayous of
Lafourche and Jefferson Parish (Primarily Lake Raccourci and Caminada Bay). At no time was
he directed nor did he conduct marine work beyond 3 miles from the lawful Louisiana coastal
border.

The Defendant, Danos & Curole Staffing, L.L.C. contacted the affiant directly for the
above described marine services. The Defendant, Danos & Curole Staffing, L.L.C. required that
the affiant sign daily log sheets on their letterhead and/or forms to verify work done on a daily
basis for every day work was conducted. AII compensation for the marine work conducted by

Affiant was provided by and through Defendant, Danos & Curole Staffing, L.L.C.

Mb L date

HILLARD DOUCET

Case 2:10-md-02179-CJI

Case 2:10-md-02179-CJB-DPC Document 5637-3 Filed 02/09/12 Page 3 of 6

AFFIDAVIT

STATE OF LOUISIANA

PARISH OF LAFOURCHE

BEFORE ME, the undersigned authority, personally appeared:
RORY DEGEYTER

a resident of Lafourche Parish, Louisiana, who was sworn and who declared:

Affiant is the captain and owner of the motor vessel, T Rozo, in the attached photograph
(State Registration Number LA 8211 FM). Affiant entered a charter agreement through Danos
& Curole Staffing, L.L.C. for marine work in the inland bays and bayous of Lafourche and
Jefferson Parish (Primarily Lake Raccourci and Caminada Bay). At no time was he directed nor
did he conduct marine work beyond 3 miles from the lawful Louisiana coastal border.

The Defendant, Danos & Curole Staffing, L.L.C. contacted the affiant directly for the
above described marine services. The Defendant, Danos & Curole Staffing, L.L.C. required that
the affiant sign daily log sheets on their letterhead and/or forms to verify work done on a daily
basis for every day work was conducted. All compensation for the marine work conducted by

Affiant was provided by and through Defendant, Danos & Curole Staffing, L-L.C.

RORY DEGEYTER

NOWSRVPUBLIC

Case 2:10-md-02179-CJB-DPC Document 5637-3 Filed 02/09/12 Page 4 of 6

Case 2:10-md-02179-CJB-DPC Document 5637-3 Filed 02/09/12 Page 5 of 6

AFFIDAVIT

STATE OF LOUISIANA

PARISH OF LAFOURCHE

BEFORE ME, the undersigned authority, personally appeared:
SHAWN POLKEY

a resident of Lafourche Parish, Louisiana, who was sworn and who declared:

Affiant is the captain and owner of the motor vessel Karli Lynn, in the attached
photograph (State Registration Number LA 7869 BK). Affiant entered a charter agreement
through Danos & Curole Staffing, L-L.C. for marine work in the inland bays and bayous of
Lafourche and Jefferson Parish (Primarily Lake Raccourci and Caminada Bay). At no time was
he directed nor did he conduct marine work beyond 3 miles from the lawful Louisiana coastal
border.

The Defendant, Danos & Curole Staffing, L.L.C. contacted the affiant directly for the
above described marine services. The Defendant, Danos & Curole Staffing, L.L.C. required that
the affiant sign daily log sheets on their letterhead and/or forms to verify work done on a daily
basis for every day work was conducted. All compensation for the marine work conducted by

Affiant was provided by and through Defendant, Danos & Curole Staffing, L.L.C.

Kaun bellies)

SHAWN POLKEY

NOYARY PUBLIC

ra

Mae

Case 2:10-md-02179-CJB-DPC Document 5637-3 Filed 02/09/12 Page 6 of 6

